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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:25-cv-00341


 JAMES KARAS, Individually and on Behalf of All Others
 Similarly Situated,

                      Plaintiff,

       v.                                                       JURY TRIAL DEMANDED

 NEWMONT CORPORATION, THOMAS R. PALMER,
 NATASCHA VILJOEN, and KARYN F. OVELMEN,

                      Defendants.



                    CLASS ACTION COMPLAINT FOR VIOLATIONS
                       OF THE FEDERAL SECURITIES LAWS


        Plaintiff James Karas (“Plaintiff”), individually and on behalf of all other persons

 similarly situated, by their undersigned attorneys, alleges in this Complaint for violations

 of the federal securities laws (the “Complaint”) the following based upon knowledge with

 respect to his own acts, and upon facts obtained through an investigation conducted by

 his counsel, which included, inter alia: (a) review and analysis of relevant filings made by

 Newmont Corporation (“Newmont” or the “Company”) with the United States Securities

 and Exchange Commission (the “SEC”); (b) review and analysis of Newmont’s public

 documents, conference calls, press releases, and stock chart; (c) review and analysis of

 securities analysts’ reports and advisories concerning the Company; and (d) information

 readily obtainable on the internet.
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        Plaintiff believes that further substantial evidentiary support will exist for the

 allegations set forth herein after a reasonable opportunity for discovery. Most of the facts

 supporting the allegations contained herein are known only to the Defendants or are

 exclusively within their control.

                                 NATURE OF THE ACTION

        1.     This is a federal securities class action on behalf of all investors who

 purchased or otherwise acquired Newmont securities between February 22, 2024 and

 October 23, 2024, inclusive (the “Class Period”), seeking to recover damages caused by

 Defendants’ violations of the federal securities laws (the “Class”).

        2.     Defendants provided investors with material information concerning

 Newmont’s full year 2023 fiscal results and financial outlook for 2024 outlook which was

 based in material part on Defendants’ goal to deliver higher grades of gold production as

 well as copper, silver, lead, zinc and molybdenum from a global, diversified Tier 1 portfolio,

 improve mining operations and cost profile to provide a steady production volume and

 lower all-in sustaining costs at its Tier 1 operations.

        3.     Defendants provided these overwhelmingly positive statements to investors

 while, at the same time, disseminating materially false and misleading statements and/or

 concealing material adverse facts concerning Newmont’s ability to deliver increased gold

 production at its Tier 1 operations, specifically, Lihir and Brucejack, in addition to lowering

 overall costs throughout its mining operations.

        4.     On October 23, 2024, the truth emerged when Newmont published a press

 release announcing disappointing EBITDA third quarter 2024 highlights, in addition to



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 decreases in production and increases in operating costs. In pertinent part, Newmont

 revealed that mining operations at its two Tier 1 assets would see lower production than

 originally guided with expectations of higher costs at these facilities.

        5.     Investors and analysts reacted immediately to Newmont’s revelation. The

 price of Newmont’s common stock declined dramatically. From a closing market price of

 $57.74 per share on October 23, 2024, Newmont’s stock price fell to $49.25 per share on

 October 24, 2024.

                                    JURISDICTION AND VENUE

        6.     Plaintiff brings this action, on behalf of himself and other similarly situated

 investors, to recover losses sustained in connection with Defendants’ fraud.

        7.     The claims asserted herein arise under and pursuant to §§10(b) and 20(a)

 of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5 promulgated

 thereunder by the SEC (17 C.F.R. §240.10b-5).

        8.     This Court has jurisdiction over the subject matter of this action pursuant to

 28 U.S.C. §§1331 and 1337, and Section 27 of the Exchange Act, 15 U.S.C. §78aa.

        9.     Venue is proper in this District pursuant to §27 of the Exchange Act and 28

 U.S.C. §1391(b), as Defendant Newmont is headquartered in this District and a significant

 portion of its business, actions, and the subsequent damages to Plaintiff and the Class,

 took place within this District.

        10.    In connection with the acts, conduct and other wrongs alleged in this

 Complaint, Defendants, directly or indirectly, used the means and instrumentalities of




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 interstate commerce, including but not limited to, the United States mail, interstate

 telephone communications and the facilities of the national securities exchange.

                                       THE PARTIES

        11.    Plaintiff purchased Newmont common stock at artificially inflated prices

 during the Class Period and was damaged upon the revelation of the Defendants’ fraud.

 Plaintiff’s certification evidencing his transaction(s) in Newmont is attached hereto.

        12.    Newmont Corporation is a Delaware corporation with its principal executive

 offices located at 6900 E Layton Avenue, Denver, Colorado 80237. During the Class

 Period, the Company’s common stock traded on the New York Stock Exchange (the

 “NYSE”) under the symbol “NEM.”

        13.    Defendant Thomas R. Palmer (“Palmer”) was, at all relevant times, the

 President and Chief Executive Officer of Newmont.

        14.    Defendant Natascha Viljoen (“Viljoen”) was, at all relevant times, Executive

 Vice President and Chief Operating Officer of Newmont.

        15.    Defendant Karyn F. Ovelmen (“Ovelmen”) was, at all relevant times, the

 Executive Vice President and Chief Financial Officer of Newmont.

        16.    Defendants Palmer, Viljoen, and Ovelmen are sometimes referred to herein

 as the “Individual Defendants.” Newmont together with the individual Defendants are

 referred to herein as the “Defendants.”

        17.    The Individual Defendants, because of their positions with the Company,

 possessed the power and authority to control the contents of Newmont reports to the SEC,

 press releases, and presentations to securities analysts, money and portfolio managers,



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 and institutional investors, i.e., the market. Each Individual Defendant was provided with

 copies of the Company’s reports and press releases alleged herein to be misleading prior

 to, or shortly after, their issuance and had the ability and opportunity to prevent their

 issuance or cause them to be corrected. Because of their positions and access to material

 non-public information available to them, each of these Individual Defendants knew that

 the adverse facts specified herein had not been disclosed to, and were being concealed

 from, the public, and that the positive representations which were being made were then

 materially false and/or misleading. The Individual Defendants are liable for the false

 statements pleaded herein, as those statements were each “group-published” information,

 the result of the collective actions of the Individual Defendants.

        18.    Newmont is liable for the acts of its employees under the doctrine of

 respondeat superior and common law principles of agency as all the wrongful acts

 complained of herein were carried out within the scope of their employment with

 authorization.

        19.    The scienter of the Individual Defendants, and other employees and agents

 of the Company are similarly imputed to Newmont under respondeat superior and agency

 principles.

                              SUBSTANTIVE ALLEGATIONS

                                  Company Background

        20.    Newmont is the world’s leading gold mining company and producer of

 copper, silver, zinc and lead. The Company has operations and/or assets in the North

 America, Africa, Australia, Latin America and Caribbean, and Papua New Guinea.



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                  The Defendants Materially Misled Investors Concerning
                  Newmont’s Production Growth and Reduction in Costs

                                       February 22, 2024
        21.       On February 22, 2024, Defendants issued a press release announcing

 fourth quarter and 2023 full year fiscal highlights, stating, in pertinent part:

                 Completed the acquisition of Newcrest Mining Limited on November
                  6, 2023, creating the world’s leading gold company with robust
                  copper optionality
                 Delivered $1.4 billion in dividends to shareholders in 2023
                 Produced 5.5 million gold ounces and 891 thousand gold equivalent
                  ounces (GEOs) from copper, silver, lead and zinc; in-line with revised
                  guidance range and incorporating the legacy Newcrest assets from
                  the acquisition close date
                 Reported gold Costs Applicable to Sales (CAS) per ounce of $1,050
                  and gold All-In Sustaining Costs (AISC) per ounce of $1,444; in-line
                  with revised guidance range and incorporating higher sustaining
                  capital spend for 2023
                 Generated $2.8 billion of cash from continuing operations and
                  reported $88 million in Free Cash Flow3 after unfavorable working
                  capital changes of $513 million and $2.7 billion of reinvestment to
                  sustain current operations and advance near-term projects
                 Reported Net Loss of $2.5 billion driven by $1.9 billion in impairment
                  charges, $1.5 billion in reclamation charges and $464 million in
                  Newcrest transaction and integration costs; these items are excluded
                  from adjusted earnings results
                 Adjusted Net Income (ANI) of $1.61 per share and Adjusted
                  EBITDA of $4.2 billion for the full year; fourth quarter ANI was $0.50
                  per share
                 Declared increased total Newmont reserves of 136 million gold
                  ounces and resources of 174 million gold ounces; significant upside
                  to other metals, including copper, silver, lead and zinc

        22.       With regard to Newmont’s expected 2024 production and cost outlook, the

 press release stated, in relevant part:

                  Newmont's 2024 outlook is supported by steady production from
                  Newmont's managed Tier 1 and Emerging Tier 1 assets, and is
                  further enhanced by the Company’s ownership in the Nevada Gold
                  Mines and Pueblo Viejo joint ventures. These assets form the core


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               of Newmont's 2024 attributable production outlook for the Tier 1
               Portfolio of approximately 5.6 million ounces. Total Newmont gold
               production is expected to be 6.9 million ounces, incorporating the
               incremental 1.3 million ounces from the six non-core assets.

               Costs in 2024 are expected to remain in line with 2023, with CAS of
               approximately of $1,000 per ounce for the Tier 1 Portfolio. AISC for
               the Tier 1 Portfolio is expected to be approximately $1,300 per ounce
               in 2024, incorporating higher sustaining capital spend compared to
               the prior year.


        23.    CEO and Defendant Palmer further touted Newmont’s strong fiscal 2023

 and high expectations for 2024:

               2023 was a transformational year for Newmont, and for all of our
               stakeholders…With the acquisition of Newcrest now complete, our
               principal focus for 2024 is to integrate and transform our leading
               portfolio of Tier 1 assets into a unique collection of the world's best
               gold and copper operations and projects. With stable production and
               structured reinvestment throughout the year, we are strongly
               positioned to deliver on our commitments in 2024 and set the stage
               for meaningful growth in 2025 and beyond.


        24.    On an earnings call the same day, Defendant Palmer outlined fiscal year

 2024 guidance, stating, in relevant part:

               When we announced our binding agreement to acquire Newcrest in
               May last year, we outlined a powerful value proposition built around
               4 key commitments: first, to set the new sustainability standard and
               strengthen Newmont's position as the gold sector's recognized
               sustainability leader; second, to create the industry's strongest
               portfolio of world-class gold and copper assets in the most favorable
               mining jurisdictions; third, to deliver $500 million of annual synergies
               and realize over $2 billion in cash from portfolio optimization; and
               finally, to continue driving a disciplined, balanced approach to capital
               allocation.

               After closing the transaction on November 6 last year, the integration
               of the 5 new operations into our Newmont operating model has been
               progressing very well. And as we enter this critically important year
               of integration and transformation, I'll be holding myself and my


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             executive leadership team accountable for delivering on these
             commitments. And this will be our key focus for 2024.

             To support this work, earlier today, we announced 4 key actions that
             together will enhance our ability to deliver on our clear and consistent
             strategy. First, we plan to divest 6 high-quality but noncore assets
             this year. From this point forward, our world-class portfolio will
             consist entirely of Tier 1 and emerging Tier 1 operations and districts.
             And it will have a significant exposure to growth in copper and gold
             from our industry-leading organic project pipeline.

             Second, we provided today our 2024 and 5-year outlook, giving a
             clear picture of the work we are doing to expand margins and
             appropriately sequence our projects to deliver sustainable value.

             Third, with the clarity, simplicity and focus that our Tier 1 portfolio
             provides, we have committed to deliver a further $500 million in cost
             and productivity improvements across the entire portfolio. And these
             improvements are over and above our synergy commitment from the
             Newcrest acquisition. We expect to hit this $500 million annual run
             rate of improvement by the end of 2025. And finally, we announced
             a balanced shareholder return framework, consisting of a $1 per
             share annualized base dividend and a new $1 billion share
             repurchase program.

             Our go-forward Newmont portfolio is focused on Tier 1 gold and
             copper operations and projects located in the world's most favorable
             mining jurisdictions. It has 4 key features. First, it contains 10 Tier 1
             operations, representing more than half of the world's Tier 1 gold
             mines. Second, it has 3 emerging Tier 1 operations with a clear path
             for growth, along with the opportunity to create a Tier 1 district in
             British Columbia, a district in which Newmont will be operating for at
             least the next century. Third, it has an unmatched organic
             development pipeline with 6 large-scale copper-gold projects. And
             fourth, underpinning our Tier 1 portfolio is the industry's most robust
             foundation of reserves and resources.
             Going forward, Newmont has the industry's largest gold resource
             base, and we also have the largest base of copper resource in the
             gold industry. And to put that into perspective, Newmont has an
             almost 30% larger gold reserve resource base than our nearest peer,
             and a 40% larger copper reserve resource base than our nearest
             gold peer. No other gold producer in the world can offer the depth
             and quality that Newmont's Tier 1 portfolio can today.
                                         *       *      *


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               As I mentioned earlier, with a clear line of sight into our -- into
               the Tier 1 managed operations in our portfolio, we have
               identified $500 million of additional cost and productivity
               improvements over and above our synergy commitments. So
               taking everything into account, over the next 5 years, we expect to
               deliver growing gold production driven by the completion of laybacks
               at both Boddington and Penasquito, the new ounces from Ahafo
               North, the completion of the second expansion at Tanami, at both
               block caves at Cadia, and mining improvements combined with
               higher grades at Lihir. And on top of this improving gold production,
               Newmont will produce a significant amount of copper along with
               silver, lead, zinc and molybdenum from a global, diversified Tier 1
               portfolio.

               Driven by this higher metal production and with a focus on
               improving costs, we expect to deliver lower all-in sustaining
               costs, bringing our go-forward portfolio down to around $1,150
               per ounce by 2027.
                                          *      *      *
               Newmont's go-forward portfolio sets the new standard for gold and
               copper mining and provides our shareholders with exposure to the
               highest concentration of Tier 1 assets in the sector, located in the
               most favorable mining jurisdictions and with an improving cost profile
               to maximize margins and generate strong free cash flow. We provide
               industry-leading growth optionality in copper and gold through
               disciplined reinvestment and project execution and provide a
               balanced shareholder return framework.
 (Emphasis added).

        25.    On the same call, CFO and Defendant Vilijoen reiterated the Company’s

 2024 guidance and noted Newmont’s restructured project delivery team, stating, in

 pertinent part:

               This team of subject matter experts is working across the full
               spectrum of our organic pipeline, including studies, project
               development, construction and commissioning of projects, by
               strength in our operating model with block driving capability
               and an understanding of industry-leading practices in project
               development.




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              This year, we will have a laser focus on the performance of our 11
              managed operations in our go-forward portfolio, while also guiding
              our 6 noncore assets through a safe and productive process for
              divestment. As we work to deliver efficiency and reliability from
              our global portfolio, we are committed to progressing our 4 key
              projects in execution and keeping them on track in 2024.
                                          *     *       *
              Our unit costs are expected to improve compared to 2023 due
              to steady production volumes and the delivery of synergies and
              full potential improvements, with the lowest unit cost coming
              from      Newmont's        managed        Tier    1     portfolio. Our
              capital reinvestment remains in line with pre-acquisition spending
              levels as we continue to focus on disciplined delivery and a balanced
              approach to capital allocation. And with this stable production and
              structured reinvestment, we are strongly positioned to integrate and
              deliver on our commitments in 2024, setting the stage to future-proof
              these world-class assets with benchmark performance and
              meaningful growth in 2025 and beyond.”
 (Emphasis added).


       26.    During a question-and-answer portion of the call, Defendants were asked

 specifically about the Company’s future guidance, in pertinent part:

              <Q: Levi Spry- UBS Investment Bank- Analyst> I just had a question
              around the 5-year guidance. Just trying to understand what was in
              there, what wasn't, and I guess what could change, specifically
              thinking about some of the projects that you called out on one of the
              other slides. Can you sort of just walk us through what is in the, I
              guess, development capital in 2027, '28 versus the studies?

              <A: Defendant Palmer> …What you're seeing in the production and
              cost profile is just that go-forward Tier 1 portfolio. So it does not
              include the 6 asset sales for divestment. It does include the ounces
              to start to come through from the investments that we're making in
              those 4 projects that we talked about. So it's seeing ounces come
              through in that time frame from the 2 block caves at Cadia, shaft at
              Tanami and Ahafo North. And a significant proportion of that $1.3
              billion of development capital in that time frame is about funding
              those 4 projects in execution.




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               As we think towards the end of that 5 years, we certainly started to
               see the spend on those projects drop off. It's going to be around
               about that time frame that we're starting to think about what's that
               next cab off the rank in terms of projects that would maintain that
               average of $1.3 billion. But the vast majority of what you see in that
               5-year profile, particularly the cost profile, the all-in sustaining cost
               profile and the gold production profile is the existing operations
               moving through different stages of the mine cycle. We're getting to
               higher grades and that investment paying off in terms of additional
               ounces and better grades.

                                        April 25, 2024

        27.    Defendants issued a press release announcing first quarter 2024 financial

 results and proclaiming the Company was “firmly on track to deliver 2024 guidance for

 production, costs and capital spend; full-year production expected to be second-half

 weighted as previously indicated.” CEO Palmer, speaking to the results, stated, in

 pertinent part:

               Newmont delivered a strong first quarter operational performance,
               producing 2.2 million gold equivalent ounces and generating over
               $1.4 billion in cash from operations before working capital
               changes…Underpinned by the gold industry's leading portfolio of
               Tier 1 gold and copper operations, we remain well-positioned to
               achieve our full-year guidance and deliver meaningful synergies and
               productivity improvements from the combined portfolio. We remain
               focused on delivering on the commitments we laid out at the
               beginning of this year, creating an attractive value proposition for
               new and existing investors during this unique time in the gold industry.


        28.    On the corresponding earnings call, Defendant Palmer reiterated the

 Company’s 2024 guidance specifically noting its cost guidance, stating, in pertinent part:

               We are firmly on track to deliver our 2024 guidance. We are pleased
               with our operational performance in the first quarter and remain
               focused on delivering consistent results as guided over the
               remainder of this year and beyond. I also want to reiterate the 4 key
               commitments that we have made to our shareholders. We continue


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             to make progress on these commitments, and I'd like to provide a
             brief update on our first quarter achievements.

             Starting, we're strengthening Newmont's position as the gold
             industry's recognized sustainability leader. Last week, Newmont
             published their 20th Annual Sustainability Report along with our third
             annual taxes and royalties contribution report, both providing a
             detailed and transparent look at our values-driven approach to
             sustainability, and the economic contributions we made in the
             jurisdictions and communities that we operate in. With this
             sustainable foundation in place, we have created the industry's
             strongest portfolio of world-class gold and copper assets in the most
             favorable mining jurisdictions.

             And from this portfolio, we produced 1.7 million ounces of gold
             at an all-in sustaining cost of $1,439 an ounce in the first
             quarter. We continue to expect these unit costs to improve
             throughout the year driven by both higher production in the
             second half and the delivery of synergies. I'd also note that in
             the first quarter, our go-forward Tier 1 portfolio produced 1.4
             million ounces of gold at $1,378 an ounce.

             Our Tier 1 portfolio also produced over 480,000 gold equivalent
             ounces from copper, silver, lead and zinc and included in this number
             is the 35,000 tonnes of copper that we produced and sold. We
             generated $776 million of cash flow from operating activities in Q1,
             including a $666 million reduction from working capital which Karyn
             will cover in a few minutes.

             And when we exclude the $291 million onetime stamp duty payment
             we made in February in connection with our acquisition of Newcrest
             free cash flow for the quarter would have been $217 million. Our
             second quarter production and costs are expected to remain
             relatively consistent with the first quarter. And we continue to
             expect that our gold production will be weighted to around 53%
             in the second half of the year, remaining firmly on track to
             achieve our full year guidance on both production and cost
             basis.

                                         *       *      *
             And finally, turning to synergies. We remain firmly on track to deliver
             on our commitments. In the first quarter, we achieved $56 million in
             synergies, bringing the total delivered to $105 million since we closed
             our acquisition of Newcrest in November last year and building solid



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              momentum towards our commitment of delivering a $500 million
              synergy run rate by the first of January 2026.

              We have identified a series of initiatives, each with action plans
              and dedicated resources in place that have us on track to
              achieve a $335 million run rate by the end of this year,
              representing 2/3 of our $500 million synergy commitment and
              well ahead of the run rate we estimated when we announced this
              commitment in May of last year. Beginning with the core of this
              value delivery, we are seeing great opportunities emerging from
              our full potential work and we are just getting started.

              At Lihir, we recently completed the first phase of full potential from
              which we have identified initiatives that will deliver more than $150
              million of value close to double the synergy target we allocated to
              this new Tier 1 operation in our portfolio. I've just returned from Lihir
              and the key to extracting this value will be simplification. Following a
              very similar approach to the 1 we used at Penasquito 5 years ago.
              We have key members of our Newmont technical team on the ground
              in P&G supporting the site team to work on simplifying operations by
              focusing on the areas that would genuinely move the needle and
              stopping the non-value activities that have historically played this
              operation.

                                        *      *     *
              Then turning to G&A. We have already achieved over 80% of the
              synergies that we committed to and we expect to exceed our
              $100 million G&A commitment by the end of this year. Most of
              our G&A synergies are coming from employee and contractor
              rationalization as we expected and to a lesser extent, from
              reductions in insurance premiums and other administrative
              fees. We look forward to realizing the significant production and
              cost benefits from our synergy work and we will continue to
              provide you with updates on our progress each quarter.

       (Emphasis added).


       29.    CFO and Defendant Karyn Ovelmen further touted Newmont’s production

 and expectations for a “stronger” second half of 2024:

              And with production also weighted toward the second half of the year,
              we anticipate that the majority of our cash flow after working capital
              will be realized in the third and fourth quarter, positioning Newmont


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               for a stronger second half of the year from both an earnings and cash
               flow perspective as we continue to focus on operational delivery. As
               Tom mentioned, we remain firmly on track to achieve our full year
               guidance for production, costs and capital spend.

               Production is expected to increase in the second half of the year.
               With the year's strongest performance anticipated in the fourth
               quarter, primarily driven by strong grades at Penasquito, and Tanami.
               And unit costs will be closely correlated to production with the added
               benefit of full potential improvements and additional synergies
               realized in the second half of the year.

                                        July 24, 2024

        30.    Defendants issued a press release announcing second quarter 2024

 financial results, again reiterating that Newmont was “[o]n track to deliver 2024 guidance

 for production, costs and capital spend; anticipating a sequential increase in production

 in the second half of the year, weighted towards the fourth quarter.”

        31.    Defendant Palmer reiterated Newmont’s 2Q financial results and expressed

 confidence in meeting full year guidance:

               Newmont delivered a solid second quarter, producing 2.1 million gold
               equivalent ounces and generating $594 million in free cash
               flow…We continued to advance our divestiture program and, to date,
               have announced $527 million in proceeds this year. With this
               momentum, we completed $250 million in share repurchases and
               repaid $250 million in debt. As we head into the second half of the
               year, we remain confident in our ability to continue executing on
               shareholder returns, meet our full year guidance and deliver on our
               commitments.

        32.    During the same day earnings call, Defendant Palmer elaborated on these

 results, touting the Company’s claimed success in its synergy delivery, while detailing

 plans for future growth, pertinently stating the following:

               Turning now to synergies. We remain firmly on track to deliver above
               and beyond our initial commitment of $500 million. In the second
               quarter, we achieved $100 million in synergies, bringing our run rate

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             to $205 million since we closed our acquisition of New Crest only 8
             months ago. With this solid momentum, we have now disbanded our
             back-office integration team and remain firmly on track to achieve a
             $335 million run rate by the end of this year, well ahead of our initial
             estimates.

             Looking at the 3 components of our synergy delivery, and
             starting with full potential. We are now advancing into the
             delivery stage of the initiatives we have identified at Lihir, Cadia
             and Red Chris, with the largest value drivers coming from our 2
             new Tier 1 assets in Lihir and Cadia. On our call last quarter, we
             provided an update on the opportunities we have identified at
             Lihir. In this quarter, I'll briefly describe some of the
             opportunities we see in front of us at Cadia. We recently
             completed our full potential diagnosis phase at Cadia, from
             which we have identified a series of initiatives that are expected
             to deliver more than $100 million of value by the end of next
             year.

             During this first phase, we had a team of experts from Newmont's
             Global Technical Services group working to support the site to
             identify opportunities to higher production and improve cash flows.
             As one example of this, and through collaboration with Boddington,
             Cadia is working to optimize the output from its high-pressure riding
             roll circuit in the mill. With these HPGR improvements, Cadia will be
             able to lift its mill feed by approximately 80 tonnes an hour or more
             than 600,000 tonnes a year, implementing the initiatives we have
             identified and leveraging the experience we have gained over the
             last 10 years with our Full Potential program.

             We are working with the team at Cadia to increase average mill
             throughput to 34 million tonnes per annum representing a meaningful
             step up in productivity from this world-class gold and copper asset.
             With Lihir, Cadia and Red Chris all now entering the delivery phase
             of full potential, we are on track to meet our initial $200 million
             commitment.

             Turning to supply chain synergies. We continue to leverage our
             combined scale to drive improved commercial outcomes for both
             pricing and terms. In the second quarter, we realized $60 million in
             synergies from around 40 initiatives in contracted services, mining
             equipment, energy, information technology among other categories.
             And we have a clear line of sight to reach $140 million run rate by
             the end of this year as we progress our commercial work across


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               several spend categories, including chemicals, explosives, grinding
               media, ties, fuel, as well as spare parts and rotables.

               And finally, turning to G&A synergies. We have now achieved
               95% of our initial $100 million commitment with an additional
               $15 million realized during the second quarter. The latest G&A
               synergies have primarily been coming from continued labor
               rationalization and ongoing reductions in our contractor spend.
               Taking these synergies into account, combined with the higher
               production volumes anticipated in the second half of this year,
               we expect to deliver lower unit costs in the third and fourth
               quarters.

        (Emphasis added).


        33.    On the same call, Defendant Ovelmen discussed company costs for the

 second half, stating, in relevant part:

               And whilst we are pleased with the improvement in free cash flow,
               we are still not satisfied and are working to further improve margins.
               Looking ahead, we anticipate higher free cash flows in the second
               half of the year driven by increased production values and lower unit
               costs, as Tom and Natascha just mentioned. Heading into the
               second half of the year, we remain firmly on track to achieve our
               full year guidance of reduction, cost and capital spend. And as
               Natascha mentioned, production is expected to increase in the third
               quarter with the year's strongest performance anticipated in the
               fourth quarter.

               Unit cost will be closely correlated to production with the added
               benefit of full potential improvements and additional synergies
               realized in the latter part of the year. Today, we announced 2
               divestments, including the monetization of our Batu Hijau deferred
               payment obligations and the sale of our Lundin Gold financing
               facilities. In total, these divestitures are expected to generate nearly
               $530 million in gross proceeds by the end of the year. With this
               momentum, the benefit of higher commodity prices
               contributing to enhanced free cash flows and the confidence in
               our asset divestiture program, we were able to prioritize
               shareholder returns sooner than anticipated while concurrently
               executing on debt reductions.

        (Emphasis added).

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        34.    Further, Defendant Palmer touted the Company’s second quarter progress

 and confidence in delivering “high production” and lowering “costs” in the upcoming

 quarters, stating, in relevant part:

               First and most importantly, we commenced a systematic review of
               our safety and risk management systems. We safely delivered solid
               production as planned, keeping us firmly on track to meet our full
               year guidance for both ounces and costs. We announced meaningful
               progress on our portfolio optimization commitments with the
               monetization of our Batu Hijau deferred payment obligations. We
               realized $100 million in synergies, bringing the total delivered to $205
               million since we closed our acquisition of Newcrest in November last
               year. We've demonstrated our commitment to shareholder returns,
               delivering $540 million through both regular dividends and share
               repurchases. And we strengthened our balance sheet with $250
               million of debt reduction.

               As we enter the second half of this year, I am confident in our
               ability to deliver high production, more potential improvements
               and additional synergies, all of which will contribute to lower
               unit costs in the third and fourth quarters, and execute on our
               portfolio optimization strategy through the divestment of our
               noncore assets, and to progress our capital allocation
               priorities, all positioning Newmont for a strong finish to this
               year.

        (Emphasis added).


        35.    During the question-and-answer segment, Defendant Palmer was asked

 about the Company’s expected production and ability to decrease cost structure in the

 fourth quarter:

               <Q: Tanya M. Jakusconek – Scotiabank - Analyst> As I think about
               the second half, and I think you mentioned that there will be a step-
               up in production to volume and then stronger volumes in Q4, I think
               about this cost structure because in order for us to get these costs
               down, we do need the volume, number one. And obviously, the $130
               million in synergies that you mentioned. I'm just trying to picture for
               myself, should I be thinking that the step-up into Q3 like almost like


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             26% of production coming out of the year and then 28% in Q4 and
             $130 million, majority of those savings coming in Q4? I'm just trying
             to understand how I'm going to get to your guidance on the costing
             side with the volume and the synergies and also where the $130
             million in synergies are coming from, if I can have a breakdown of
             those.

             <A: Thomas Ronald Palmer> You certainly got to see the synergies
             getting through -- particularly those coming from full potential in the
             fourth quarter as those programs get their momentum up. You're
             certainly going to see the highest quarter 4 gold ounces in the fourth
             quarter. That's from some of our key assets that Natascha covered
             in her comments. The 2 nonmanaged joint ventures, so NGM need
             to deliver on their commitments and they've got that strong fourth
             quarter.

             <Q: Tanya M. Jakusconek – Scotiabank - Analyst> And maybe just
             if I could have an understanding. Maybe just an understanding of the
             $130 million in synergies. Can you just give me a breakdown of
             what's coming from? Is it like what very little is left in G&A? Is it supply
             chain like $3 million of it and $100 million in the operations? I'm just
             trying to understand how I should think about that $130 million
             coming in yet.

             <A: Thomas Ronald Palmer> Yes. Certainly, when you think about
             G&A, and it's the same we saw for Goldcorp, similar size companies,
             that's around about the mark. So we've largely seen that come
             through. Still pushing hard on -- we've got a strong commercial team
             working hard on all those fronts. So you're going to see a good
             amount come from that supply chain work. And then you'll start to
             see both Lihir and Cadia bit of regress in the fourth quarter. So not
             much from G&A to percentage coming from supply chain as that
             work started to kick in. And then you'll start to see in the fourth quarter
             some of the full potential of the operation starting to kick through,
             really, they start to show up in 2025. But again, the split, you're
             actually [indiscernible] not too far off the mark.

             Our direct costs are pretty stable across the year. And certainly
             what we're seeing in the first half flowing through the second
             half, pretty stable. So I think the picture you're painting in terms
             of that third quarter weighting to the fourth quarter weighting is
             a reasonable position to be thinking about in terms of that
             weight between the third and the fourth quarter. You will see a
             step up in the third and then a step up into the fourth to get to
             our numbers.

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              <Q: Matthew Murphy – Jefferies LLC - Analyst> And then maybe just
              as a follow-on on the CapEx question. Do you view an increase in
              CapEx down the line? Is that kind of like a time line related thing
              where you integrate Newcrest for a number of years and kind of
              focus on capital returns and then eventually get back into potentially
              higher development CapEx?

              <A: Thomas Ronald Palmer> No, Matt. We've been clear in our
              strategy. We have built a portfolio of Tier 1 long-life assets,
              [indiscernible] managed operations and nonmanaged joint ventures,
              something that hasn't been seen before in the gold industry. I think
              for the first time, we have a long life, very long-life gold mining
              business with Tier 1 assets.

              Key to running a long-life portfolio is our discipline around capital
              allocation. So if we think about this portfolio going forward and our
              pipeline of projects, the 6 big projects sitting in our pipeline, our
              discipline around the amount of capital we'll put towards sustaining
              capital for that portfolio, and the $1.3 billion towards development
              capital doesn't change. It's the discipline around managing our long-
              life portfolio and having a view on capital that's like 2 decades out
              and thinking about what that means is key to what we've built.

              So we'll demonstrate that over time, but the expectation you should
              expect from us is that $1.3 billion is the amount of money that we
              allocate to reinvest back in the business each and every year.

       (Emphasis added).
                                      September 17, 2024

       36.    On September 17, 2024, Defendants Ovelmen and Viljoen presented on

 behalf of Newmont at the Denver Gold Forum where they touted the Company’s Tier 1

 portfolio and bringing costs down:

              <Q: Attendee> …So Natascha, I want to start with you. Building on
              your several decades of mining industry experience, your
              observations on Newmont so far from an operational excellence and
              growth point of view?

              <A: Natascha Vilijoen> If we consider the portfolio of assets we have
              today, it is a real suite of Tier 1 assets, with a total embarrassment


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             of riches when we think about our project portfolio. The reality for us
             and the opportunity lies in operational excellence, technical expertise
             and the discipline to deliver against good, developed plans, with an
             eye on the future. And if you consider where we are in the gold
             industry and what the trajectory is that we see the gold sector will go
             into, continuously planning and designing our mines with a long-term
             in mind.

             And with 11 Tier 1 assets, soon to be 12 when we start up our Ahafo
             North project, we have a true opportunity to look at the enterprise
             and run these operations really, really well. And the one lesson I've
             learned, and is actually something that my father told me when I
             started my career, and when you talk about people like Mark and
             Amar in the room, is that we need to go back and learn what really
             good basic practice in mining is. We need to know our assets really
             well and we need to drive that basic good practice in mining.

             <Q: Attendee> …how would you describe Newmont's current capital
             allocation strategy? And what do you think Newmont can do better
             in terms of capital allocation?

             <A: Karyn F. Ovelmen> So we own more than half of the world's Tier
             1 gold mines. So we lead when it comes to scale, ounces, reserves,
             but coming from outside the industry, I think in terms of where we
             need to do better, we need to push beyond these types of metrics.

             The industry has not done very well when it comes to return on
             invested capital and [Technical Difficulty] returns through a cycle. I
             think it's an opportunity for us. We need to run our business well. We
             need to put out -- we need to meet our guidance every quarter, every
             month, every year. But most importantly, we -- from a capital
             allocation perspective, we need to put an economic lens in terms of
             how we want to run our portfolios, with an eye towards that return on
             invested capital, truly creating economic value for our shareholders.

             Natascha has a renewed focus in terms of safety, operational
             excellence, project execution. We also need to provide that
             economic lens on our portfolio. So how do we structure the portfolio,
             run the portfolio, make capital allocation decisions, whereby we are
             truly creating economic value for our shareholders in the near term
             and over the longer term?

             I think because of the Tier 1 portfolio that we have, because of that
             focus on operations and that renewed energy around that as well as
             really putting a true lens in terms of how we want to look at this

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             portfolio in terms of the types of returns that we can provide to our
             shareholders over the near term and the long-term, we have a real
             opportunity, I believe, to differentiate in this space and to change that
             trajectory in terms of providing returns to shareholders.

             <Q: Attendee> …having gone through the assets, what have you
             learned about the newly acquired assets, one? And second, what
             opportunities you see in terms of deploying the full potential program
             just by integrating those assets within Newmont?

             <A: Natascha Vilijoen> The flexibility that we can build in our
             operational performance and how we think about our sustaining
             capital profile and staging that to ensure that we have a stable ounce
             profile and a sustainable -- sustainable capital profile.

             When we consider the full potential program on the new assets,
             particularly, we've run all 4 assets that will remain in the portfolio now
             through our full potential program. And that is -- all of those are in
             execution at the moment. We have committed $200 million are as
             part of the synergies that will come from that process, and we're well
             on track.

             But I do want to emphasize that not only through the full potential
             program, but in stepping back and changing the constraints that
             we've put on our operations, the constraints that we've put on how
             we look at our portfolio of assets and how that enterprise have
             interdependency, it is an opportunity for us to make a real step
             change in productivity, bringing costs down to sustainable low
             cost base and working towards that economic margin
             expansion that Karyn has been talking about.

             <Q: Attendee> So if you look at your growth portfolio right now, what
             did you say are the 1, 2, 3 priorities for Newmont?

             <A: Natascha Vilijoen> Lastly, we've got this embarrassment of
             riches in terms of the broader portfolio. And Karyn and I partnered
             on this to say, "Well, we want to really make a step change in how
             we develop and deliver on large-scale projects." Financial evaluation
             is a really big portion of that development, but really understanding
             the technical detail and risk or opportunity on the delivery and
             execution of that projects is the focus. So as we step through this
             embarrassment of riches, not looking -- only looking at the financial
             returns, but our ability to committed to deliver and deliver against it.
             And then we will put that through our capital allocation framework.



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       (Emphasis added).

       37.    The above statements in Paragraphs 21 to 36 were false and/or materially

 misleading. Defendants created the false impression that they possessed reliable

 information pertaining to the Company’s projected revenue outlook and ability to deliver

 growing gold and mineral production at its diversified Tier 1 portfolio operations through

 mining and cost profile improvements. Defendants misled investors by providing the

 public with materially flawed statements of confidence and growth projections which did

 not account for these variables.

                                    The Truth Emerges

                                     October 23, 2024

       38.    On October 23, 2024, Newmont issued a press release announcing

 disappointing third quarter EBITDA, lower production guidance and an increase in the

 Company’s operating costs, stating Third Quarter 2024 Production and Financial

 Summary, in relevant part:

              Gold CAS totaled $1.9 billion for the quarter. Gold CAS per ounce3
              increased 5 percent to $1,207 per ounce compared to the prior
              quarter primarily due to higher direct costs at Lihir, as a result of
              planned autoclave maintenance, as well as higher direct operating
              costs primarily due to increased contract services across the portfolio.

              Gold AISC per ounce increased 3 percent to $1,611 per ounce
              compared to the prior quarter primarily due to higher CAS.

                                         *      *     *
              CAS from other metals totaled $418 million for the quarter. CAS
              per GEO3 increased 21 percent from the prior quarter to $1,015 per
              ounce due to higher costs allocated to co-products at Peñasquito,
              Cadia, and Red Chris, as well as the impact of the shutdown at Telfer
              due to the tailings remediation work.



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               AISC per GEO increased 11 percent to $1,338 per ounce compared
               to the prior quarter primarily due to higher CAS from other metals,
               partially offset by lower treatment and refining costs.

               Net income attributable to Newmont stockholders was $922
               million or $0.80 per diluted share, an increase of $69 million from the
               prior quarter primarily due to higher average realized gold prices and
               higher sales volumes, partially offset by higher unit costs of
               production, as well as a loss on assets held for sale of $115 million
               recognized in the third quarter compared to $246 million recognized
               in the second quarter of 2024.

        39.    On an earnings call later that day, Defendant Viljoen commented on

 Newmont’s lower production levels from its new operations, specifically in Lihir and

 Brucejack, stating, in pertinent part:

               As we look ahead to 2025, our operational focus at Lihir will remain
               on reducing complexity to deliver more sustainable and predictable
               results at this Tier 1 operation. In the short term, these efforts will
               result in lower than initially anticipated production next year
               due to lower throughput to allow for asset reliability
               improvement work and changes to the mine sequencing,
               including the establishment of wider ramps to manage surface
               water and repositioning all roads to be more effective and
               efficient.

               Whilst we complete this work, we will be processing a higher
               proportion of lower grade stockpiles in 2025. And we anticipate that
               gold production next year from Lihir will be largely consistent with this
               year's and around 250,000 ounces lower than our initial guidance for
               2025 that we provided back in February.

                                             *        *     *

               Similarly, at Brucejack, we have taken a step back this year to do the
               development and drilling work to ensure that we improve our
               knowledge of this nuggety ore body. We continue to experience
               periods of exceptional high grades, including a 1-day average of 52
               grams per ton last month and an average of over 20 grams per ton
               in the same week. As a result of the work we are doing, we
               anticipate that the gold production next year from Brucejack will
               also be largely consistent with this year, all around 100,000


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                ounces lower than our initial guidance for 2025 that we provided
                back in February.

         (Emphasis added).

         40.   Defendant Palmer addressed the Company’s increase in direct costs,

 stating, in relevant part:

                Looking ahead to 2025, we expect gold production from our go-
                forward Tier 1 portfolio to remain largely consistent with this year,
                driven by the lower than previously expected production from two of
                our new operations in Lihir and Brucejack. We expect unit costs for
                our core portfolio in 2025 to align with the trends we are observing
                this year. We also remain committed to the critical tailings work in
                Cadia, which may result in an annual sustaining capital spend of
                around $1.8 billion from our core portfolio over the next few years.

                And we continue to see higher previously expected direct costs
                and G&A spend. But with the clarity of our go-forward portfolio,
                we are now working to manage. With this context, my leadership
                team and I have a laser focus on the work we need to do to
                optimize our go-forward portfolio of 11 managed operations and
                3 projects in execution. Whilst we do anticipate production
                growth over time, our focus is firmly on expanding margins,
                generating a strong return on capital invested and creating
                value versus chasing volume. We are taking a critical look at
                our organic project pipeline and spending time to ensure that
                any reinvestment we make into our portfolio is both disciplined
                and deliberate.

         (Emphasis added).

         41.    During the question and answer portion of the call, several analysts

 questioned Newmont executives on the Company’s change in cost guidance, in relevant

 part:

                <Q: Daniel Edward Major – UBS Investment Bank - Analyst> But
                when I look back to February and you look at your cost profile in
                medium term, like many in the gold industry, you've got costs coming
                down over time over the next few years, yet this year, all-in sustaining
                costs are $100 higher than you saw in February. Is it realistic and


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             credible to actually assume that unit costs will moderate over time?
             Or should we rather be assuming the best case outcome is limiting
             inflation?

             <A: Thomas Ronald Palmer> Certainly, if I think about the gold
             industry, there's always been a strong correlation between gold price
             and the cost of producing an ounce of gold, given that inflation is one
             of those key structural elements behind the gold price. So as you
             look forward, if gold price eases, then you'd expect the cost of
             producing an ounce to ease. And obviously, you're going to see
             some tracking between the cost per ounce and the gold price. Our
             focus is on what we're putting in place is that we have 11 managed
             operations going forward where we're going to be in a position to be
             looking over the long term and strengthening and growing those
             margins.

             The other comment I'd make before I pass to Karyn, if you wanted to
             build on that, is when you look at the out-year numbers that we had
             provided back in February, that assumed 0 escalation. And so when
             you think about any forward-looking numbers, there's no escalation.
             And obviously, what we're seeing as we are closer to 2025, the run
             rates we're seeing as we close out this year and that is going to flow
             into next year as we understand the cost for the next 12 to 15 months.

             <Karyn F. Ovelmen> Generally speaking, as we indicated, the cost
             that we're seeing here in 2024, we do expect those to trend into 2025.
             Costs were higher, driven by higher direct costs, primarily. If you
             think about contracted labor, which is 50% of our cost structure,
             we've seen those increase into the third quarter and through the year.
             And so we expect that, that's been built in now into our cost estimates
             as we head into 2025.

             <Q: Daniel Edward Major – UBS Investment Bank - Analyst> Yes,
             just again, just thinking about your guidance comments for 2025. You
             previously looked at in February around 6 million ounces from the
             core portfolio in terms of gold. You highlight in the comments,
             250,000 ounces lower than your previous plans at Lihir and 100 at
             Brucejack. So is it fair to then assume 350,000 off the 6 million is the
             new base when we look into 2025?
             <A: Thomas Ronald Palmer> Certainly, the two movers in terms of
             our managed portfolio, and as I think as Natascha said in her
             remarks, and I followed up with the drivers behind that mine
             sequence at Lihir and getting in front of understanding the resource
             definition of Brucejack and the development work and the drilling you
             need to do for that. Both of those are progressing well, but it's the

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             ounces for next year reflect that important work. I think the numbers,
             if you then look at the rest of the portfolio on those trends coming
             through from '24 flowing into '25 the number is more like 5.6 as you
             think about this portfolio for 2025, the core portfolio of the 2025.
             Obviously, we've got some divestments to close out and still got
             some more work to do on that front. Some of that will flow into 2025,
             as we complete that divestment work, but that core portfolio, 5.6% is
             about their gold production number for next year.

             <Q: Joshua Mark Wolfson – RBC Capital Markets – Director of
             Global Mining Research & Analyst> I'm trying to wrap my head
             around the change -- the significant change in sort of cost
             expectations and to some degree, production expectations going
             forward versus what we had been hearing about previously. And I
             guess, there's sort of two different aspects, at least that I can
             understand. One is despite the synergy targets being achieved, it
             sounds like there's some larger integration issues, given the
             challenges or higher costs mentioned across Brucejack, Lihir and
             Cadia.

             And then on the other hand, we're hearing significant and
             unexpected inflation expectation changes, which I guess would be a
             larger industry-related item. I just want to sort of clarify how should
             we be thinking about these things? And am I sort of assessing this
             appropriately?

             <A: Thomas Ronald Palmer> So maybe pick it up in a few parts. I
             think the commentary around Lihir, Cadia, Cerro Negro, I think you
             mentioned, is really the Q3 cost story. So it's around Lihir, we had
             some costs that we had assumed would be in the fourth quarter for
             the large autoclave shutdown specialist labor in the remote part of
             the world moving into Q3. So that's one of the drivers there.

             Cadia was power, where a higher power cost coming off our contract
             for price taker. Cerro Negro, it was more around ramping up following
             the tragedy earlier this year and making sure we're focused on doing
             that work safely, some productivity impacts. And then the other factor
             in the third quarter was we had some concentrate sales at
             Peñasquito didn't get away at the end of the third quarter due to some
             weather impacts there that obviously flowed into the fourth quarter.

             So that's sort of bit of a ramp up of the third quarter cost story. When
             I look at '24 flowing into '25, so there's two impacts, the volume
             impact we just talked about with Dan and the Lihir and Brucejack


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             work next year linked to that. And then the cost impact is sustaining
             capital and particularly around the work we're putting into the tailings
             facilities at Cadia. Cadia has got a 30-plus year life, several Panel
             Caves from come on. And there's work we need to do to ensure that
             Telfer capacity is matched to the volumes coming out of those Panel
             Caves. So that story is around volume for those couple of key drivers
             and then sustaining capital.

             <Karyn F. Ovelmen> Sure. Just a little more granularity in terms of
             2024. So about 1/3 of that is increased due to that lower sales
             volume, including impacts from Telfer, Lihir and Brucejack. Another
             1/3 relates to that higher sustaining capital that we've been talking
             about largely driven by Nevada. And then the remaining 1/3, half of
             that is by royalties due to higher gold price and half associated with
             the G&A. So our run rate synergies are driven by the targeted
             benefits at Cadia, Red Chris and Lihir. However, we've also had
             performance challenges within the business, including the Telfer
             tailings as well as the nonmanagement of underperformed
             expectations. But -- and I think further to that supply chain, G&A
             benefits have been impacted by our need to invest in the future of
             this combined Tier 1 portfolio with a key focus in areas with the
             integration from Newcrest to new mines as needed. But we're not
             happy with where we're at, and we're working to reduce these costs.

             <Q: Michael Parkin – National Bank Financial, Inc. – Mining Analyst>
             Congrats on getting the synergy target achieved. Of the $500 million,
             how much of that flows through OpEx?

             <A: Thomas Ronald Palmer> Yes, obviously, the G&A component of
             that is part of your OpEx. The supply chain is a combination between
             improving costs and opportunity to get to productivity and volume. A
             lot of the full potential work is around volume. So you get some more
             productivity with current gold price, you get that benefit flowing
             through. So probably of the amount of that delivery, it's probably less
             than half has come from that an operational exit the soft
             improvements as opposed to the productivity and volume
             improvements and the free cash flow that you get coming through.
             And if I look through that, if I look at where we sit is one of the earlier
             questions, as we're closing out the integration and the important part
             of closing out the integration is completing our divestments and
             having a clear line of sight to 11 managed operations, 3 projects in
             execution.




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              I'm not happy with the G&A that we have that go-forward
              business. And that's an area that we're going to be focusing on
              to get that number down to match the go-forward business. And
              that's a little bit of that higher cost to carry as you work through
              that transition. But as we get that clarity on the remaining
              divestments going out the door, we need to ensure that our G&A
              is matching the size of the go-forward business and expect to
              see some -- we'll be working hard to get some improvement in
              that area in the months ahead.

       (Emphasis added).

       42.    The aforementioned press releases and statements made by the Individual

 Defendants were misleading and in direct contrast to Defendants’ prior statements.

 During these calls, Newmont executives continually touted the Company’s Tier 1 portfolio

 and confidence to deliver increased gold and mineral production while lowering costs over

 the next several years. Moreover, Newmont minimized risks associated with operational

 and maintenance issues at the mines in addition to increased labor and energy costs. In

 truth, Newmont failed to meet the Company’s publicly stated progress that its Lihir and

 Brucejack mining operations would see increased production volume throughout 2024.

       43.    A number of well-known analysts who had been following Newmont lowered

 their price targets in response to Newmont’s disclosures. CIBC Capital Markets analyst

 commented on Newmont’s increase in costs, in relevant part:

              On the operating cost front, we had previously expected costs would
              decline; however, NEM is now guiding to flat costs YoY. Given the
              increased uncertainty we believe now exists regarding the
              company’s asset performance over the medium and longer terms,
              we are lowering our NAV target multiple from 1.4x to 1.3x. We are
              also reducing our CFPS target multiple from 10.0x to 9.0x.




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        44.    Similarly, Scotiabank also released commentary on the Company’s

 disappointing third quarter results, stating, in pertinent part:

               Despite the sharp decline in the shares, we believe NEM still faces
               some headwinds in the short term, given the recent release. This
               includes 1) uncertainty over cost containment of portfolio with the
               increase in costs into 2025 (and beyond), 2) uncertainty over the mid-
               term to LT outlook on the tier 1 portfolio(which now may be very
               different from February 2024 guidance) and 3) lack on information
               on several NCM assets acquired with respect to overall progress and
               outlook.


        45.    The fact that these analysts, and others, discussed Newmont’s below-

 expectation projections suggests the public placed significant weight on Newmont’s

 statements of prior confidence in goal to deliver higher grades of gold production as well

 as copper, silver, lead, zinc and molybdenum from a global, diversified Tier 1 portfolio,

 improve mining operations and cost profile to provide a steady production volume and

 lower all-in sustaining costs at its Tier 1 operations. The frequent, in-depth discussion of

 Newmont’s guidance confirms that Defendants’ statements during the Class Period were

 material.

        46.    As a result, investors and analysts reacted immediately to Newmont’s

 revelations. The price of Newmont’s common stock declined dramatically. From a closing

 market price of $ 57.74 per share on October 23, 2024, Newmont’s stock price fell to

 $49.25 per share on October 24, 2024.

                           Loss Causation and Economic Loss

        47.    During the Class Period, as detailed herein, Defendants made materially

 false and misleading statements and engaged in a scheme to deceive the market and a



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 course of conduct that artificially inflated the price of Newmont’s common stock and

 operated as a fraud or deceit on Class Period purchasers of Newmont’s common stock

 by materially misleading the investing public. Later, Defendants’ prior misrepresentations

 and fraudulent conduct became apparent to the market, the price of Newmont’s common

 stock materially declined, as the prior artificial inflation came out of the price over time.

 As a result of their purchases of Newmont’s common stock during the Class Period,

 Plaintiff and other members of the Class suffered economic loss, i.e., damages under

 federal securities laws.

        48.    Newmont’s stock price fell in response to the corrective event on October

 23, 2024, as alleged supra. On October 23, 2024, Defendants disclosed information that

 was directly related to their prior misrepresentations and material omissions concerning

 Newmont’s forecasting processes and growth guidance.

        49.    In particular, on October 23, 2024, Newmont announced significantly below-

 market growth expectations for fiscal year 2024. This projection was well below the

 market expectations generated by Newmont’s own previous reports of economic growth

 and internal growth projections provided throughout the first half of fiscal year 2024.

                     Presumption of Reliance; Fraud-On-The-Market

        50.    At all relevant times, the market for Newmont’s common stock was an

 efficient market for the following reasons, among others:

               (a)    Newmont’s common stock met the requirements for listing

                      and was listed and actively traded on the NYSE during the

                      Class Period, a highly efficient and automated market;



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               (b)    Newmont communicated with public investors via established

                      market        communication         mechanisms,          including

                      disseminations of press releases on the national circuits of

                      major newswire services and other wide-ranging public

                      disclosures, such as communications with the financial press

                      and other similar reporting services;

               (c)    Newmont was followed by several securities analysts

                      employed by major brokerage firms who wrote reports that

                      were distributed to the sales force and certain customers of

                      their respective brokerage firms during the Class Period. Each

                      of these reports was publicly available and entered the public

                      marketplace; and

               (d)    Unexpected material news about Newmont was reflected in

                      and incorporated into the Company’s stock price during the

                      Class Period.

        51.    As a result of the foregoing, the market for Newmont’s common stock

 promptly digested current information regarding the Company from all publicly available

 sources and reflected such information in Newmont’s stock price. Under these

 circumstances, all purchasers of Newmont’s common stock during the Class Period

 suffered similar injury through their purchase of Newmont’s securities at artificially inflated

 prices, and a presumption of reliance applies.




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        52.     Alternatively, reliance need not be proven in this action because the action

 involves omissions and deficient disclosures. Positive proof of reliance is not a

 prerequisite to recovery pursuant to ruling of the United States Supreme Court in Affiliated

 Ute Citizens of Utah v. United States, 406 U.S. 128 (1972). All that is necessary is that

 the facts withheld be material in the sense that a reasonable investor might have

 considered the omitted information important in deciding whether to buy or sell the subject

 security.

              No Safe Harbor; Inapplicability of Bespeaks Caution Doctrine

        53.     The statutory safe harbor provided for forward-looking statements under

 certain circumstances does not apply to any of the material misrepresentations and

 omissions alleged in this Complaint. As alleged above, Defendants’ liability stems from

 the fact that they provided investors with revenue projections while at the same time failing

 to maintain adequate forecasting processes. Defendants provided the public with

 forecasts that failed to account for this decline in sales and/or adequately disclose the

 fact that the Company at the current time did not have adequate forecasting processes.

        54.     To the extent certain of the statements alleged to be misleading or

 inaccurate may be characterized as forward looking, they were not identified as “forward-

 looking statements” when made and there were no meaningful cautionary statements

 identifying important factors that could cause actual results to differ materially from those

 in the purportedly forward-looking statements.

        55.     Defendants are also liable for any false or misleading “forward-looking

 statements” pleaded because, at the time each “forward-looking statement” was made,



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 the speaker knew the “forward-looking statement” was false or misleading and the

 “forward-looking statement” was authorized and/or approved by an executive officer of

 Newmont who knew that the “forward-looking statement” was false. Alternatively, none of

 the historic or present-tense statements made by Defendants were assumptions

 underlying or relating to any plan, projection, or statement of future economic

 performance, as they were not stated to be such assumptions underlying or relating to

 any projection or statement of future economic performance when made, nor were any of

 the projections or forecasts made by the defendants expressly related to or stated to be

 dependent on those historic or present-tense statements when made.

                            CLASS ACTION ALLEGATIONS

        56.   Plaintiff brings this action as a class action pursuant to Federal Rule of Civil

 Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who purchased or

 otherwise acquired Newmont securities during the Class Period (the “Class”); and were

 damaged upon the revelation of the alleged corrective disclosure. Excluded from the

 Class are defendants herein, the officers and directors of the Company, at all relevant

 times, members of their immediate families and their legal representatives, heirs,

 successors or assigns and any entity in which defendants have or had a controlling

 interest.

        57.   The members of the Class are so numerous that joinder of all members is

 impracticable. Throughout the Class Period, Newmont’s securities were actively traded

 on the NYSE. While the exact number of Class members is unknown to Plaintiff at this

 time and can be ascertained only through appropriate discovery, Plaintiff believes that



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 there are hundreds or thousands of members in the proposed Class. Record owners and

 other members of the Class may be identified from records maintained by Newmont or

 its transfer agent and may be notified of the pendency of this action by mail, using the

 form of notice similar to that customarily used in securities class actions. As of October

 23, 2024, there were approximately 1.1 billion shares of the Company’s common stock

 outstanding. Upon information and belief, these shares are held by thousands, if not

 millions, of individuals located throughout the country and possibly the world. Joinder

 would be highly impracticable.

        58.    Plaintiff’s claims are typical of the claims of the members of the Class as all

 members of the Class are similarly affected by Defendants’ wrongful conduct in violation

 of federal law that is complained of herein.

        59.    Plaintiff will fairly and adequately protect the interests of the members of the

 Class and has retained counsel competent and experienced in class and securities

 litigation. Plaintiff has no interests antagonistic to or in conflict with those of the Class.

        60.    Common questions of law and fact exist as to all members of the Class and

 predominate over any questions solely affecting individual members of the Class. Among

 the questions of law and fact common to the Class are:

               (a)     whether the federal securities laws were violated by

                       Defendants’ acts as alleged herein;

               (b)     whether statements made by Defendants to the investing

                       public during the Class Period misrepresented material facts

                       about the business, operations and management of Newmont;



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                (c)     whether the Individual Defendants caused Newmont to issue

                        false and misleading financial statements during the Class

                        Period;

                (d)     whether Defendants acted knowingly or recklessly in issuing

                        false and misleading financial statements;

                (e)     whether the prices of Newmont’s common stock during the

                        Class Period were artificially inflated because of the

                        Defendants’ conduct complained of herein; and

                (f)     whether the members of the Class have sustained damages

                        and, if so, what is the proper measure of damages.

        61.     A class action is superior to all other available methods for the fair and

 efficient adjudication of this controversy since joinder of all members is impracticable.

 Furthermore, as the damages suffered by individual Class members may be relatively

 small, the expense and burden of individual litigation make it impossible for members of

 the Class to individually redress the wrongs done to them. There will be no difficulty in the

 management of this action as a class action.

                                           COUNT I

                         Against All Defendants for Violations of
                  Section 10(b) and Rule 10b-5 Promulgated Thereunder

        62.     Plaintiff repeats and realleges each and every allegation contained above

 as if fully set forth herein.




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        63.    This Count is asserted against defendants and is based upon Section 10(b)

 of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated thereunder by the

 SEC.

        64.    During the Class Period, Defendants engaged in a plan, scheme,

 conspiracy and course of conduct, pursuant to which they knowingly or recklessly

 engaged in acts, transactions, practices and courses of business which operated as a

 fraud and deceit upon. Plaintiff and the other members of the Class; made various untrue

 statements of material facts and omitted to state material facts necessary in order to make

 the statements made, in light of the circumstances under which they were made, not

 misleading; and employed devices, schemes and artifices to defraud in connection with

 the purchase and sale of securities. Such scheme was intended to, and, throughout the

 Class Period, did: (i) deceive the investing public, including Plaintiff and other Class

 members, as alleged herein; (ii) artificially inflate and maintain the market price of

 Newmont common stock; and (iii) cause Plaintiff and other members of the Class to

 purchase or otherwise acquire Newmont’s securities at artificially inflated prices. In

 furtherance of this unlawful scheme, plan and course of conduct, Defendants, and each

 of them, took the actions set forth herein.

        65.    Pursuant to the above plan, scheme, conspiracy and course of conduct,

 each of the defendants participated directly or indirectly in the preparation and/or

 issuance of the quarterly and annual reports, SEC filings, press releases and other

 statements and documents described above, including statements made to securities

 analysts and the media that were designed to influence the market for Newmont’s



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 securities. Such reports, filings, releases and statements were materially false and

 misleading in that they failed to disclose material adverse information and misrepresented

 the truth about the Company.

        66.    By virtue of their positions at the Company, Defendants had actual

 knowledge of the materially false and misleading statements and material omissions

 alleged herein and intended thereby to deceive Plaintiff and the other members of the

 Class, or, in the alternative, Defendants acted with reckless disregard for the truth in that

 they failed or refused to ascertain and disclose such facts as would reveal the materially

 false and misleading nature of the statements made, although such facts were readily

 available to Defendants. Said acts and omissions of defendants were committed willfully

 or with reckless disregard for the truth. In addition, each defendant knew or recklessly

 disregarded that material facts were being misrepresented or omitted as described above.

        67.    Information showing that Defendants acted knowingly or with reckless

 disregard for the truth is peculiarly within defendants’ knowledge and control. As the

 senior managers and/or directors of the Company, the Individual Defendants had

 knowledge of the details of Newmont’s internal affairs.

        68.    The Individual Defendants are liable both directly and indirectly for the

 wrongs complained of herein. Because of their positions of control and authority, the

 Individual Defendants were able to and did, directly or indirectly, control the content of the

 statements of the Company. As officers and/or directors of a publicly-held company, the

 Individual Defendants had a duty to disseminate timely, accurate, and truthful information

 with respect to Newmont’s businesses, operations, future financial condition and future



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 prospects. As a result of the dissemination of the aforementioned false and misleading

 reports, releases and public statements, the market price of Newmont’s common stock

 was artificially inflated throughout the Class Period. In ignorance of the adverse facts

 concerning the Company which were concealed by Defendants, Plaintiff and the other

 members of the Class purchased or otherwise acquired Newmont’s common stock at

 artificially inflated prices and relied upon the price of the common stock, the integrity of

 the market for the common stock and/or upon statements disseminated by Defendants,

 and were damaged thereby.

        69.    During the Class Period, Newmont’s common stock was traded on an active

 and efficient market. Plaintiff and the other members of the Class, relying on the materially

 false and misleading statements described herein, which the defendants made, issued or

 caused to be disseminated, or relying upon the integrity of the market, purchased or

 otherwise acquired shares of Newmont’s common stock at prices artificially inflated by

 defendants’ wrongful conduct. Had Plaintiff and the other members of the Class known

 the truth, they would not have purchased or otherwise acquired said common stock, or

 would not have purchased or otherwise acquired them at the inflated prices that were

 paid. At the time of the purchases and/or acquisitions by Plaintiff and the Class, the true

 value of Newmont’s common stock was substantially lower than the prices paid by Plaintiff

 and the other members of the Class. The market price of Newmont’s common stock

 declined sharply upon public disclosure of the facts alleged herein to the injury of Plaintiff

 and Class members.




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        70.    By reason of the conduct alleged herein, Defendants knowingly or

 recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act and Rule

 10b-5 promulgated thereunder.

        71.    As a direct and proximate result of defendants’ wrongful conduct, Plaintiff

 and the other members of the Class suffered damages in connection with their respective

 purchases, acquisitions and sales of the Company’s common stock during the Class

 Period, upon the disclosure that the Company had been disseminating misrepresented

 financial statements to the investing public.

                                          COUNT II

                           Against the Individual Defendants
                  for Violations of Section 20(a) of the Exchange Act

        72.    Plaintiff repeats and realleges each and every allegation contained in the

 foregoing paragraphs as if fully set forth herein.

        73.    During the Class Period, the Individual Defendants participated in the

 operation and management of the Company, and conducted and participated, directly

 and indirectly, in the conduct of the Company’s business affairs. Because of their senior

 positions, they knew the adverse non-public information about Newmont’s misstatements.

        74.    As officers and/or directors of a publicly owned company, the Individual

 Defendants had a duty to disseminate accurate and truthful information, and to correct

 promptly any public statements issued by Newmont which had become materially false

 or misleading.

        75.    Because of their positions of control and authority as senior officers, the

 Individual Defendants were able to, and did, control the contents of the various reports,


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 press releases and public filings which Newmont disseminated in the marketplace during

 the Class Period concerning the misrepresentations. Throughout the Class Period, the

 Individual Defendants exercised their power and authority to cause Newmont to engage

 in the wrongful acts complained of herein. The Individual Defendants therefore, were

 “controlling persons” of the Company within the meaning of Section 20(a) of the Exchange

 Act. In this capacity, they participated in the unlawful conduct alleged which artificially

 inflated the market price of Newmont’s common stock.

        76.    Each of the Individual Defendants, therefore, acted as a controlling person

 of the Company. By reason of their senior management positions and/or being directors

 of the Company, each of the Individual Defendants had the power to direct the actions of,

 and exercised the same to cause Newmont to engage in the unlawful acts and conduct

 complained of herein. Each of the Individual Defendants exercised control over the

 general operations of the Company and possessed the power to control the specific

 activities which comprise the primary violations about which Plaintiff and the other

 members of the Class complain.

        77.    By reason of the above conduct, Newmont is liable pursuant to Section 20(a)

 of the Exchange Act for the violations committed by the Company.

                                   PRAYER FOR RELIEF

        WHEREFORE, Plaintiff demand judgment against defendants as follows:

        A.     Determining that the instant action may be maintained as a class

               action under Rule 23 of the Federal Rules of Civil Procedure, and

               certifying Plaintiff as the Class representatives;



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       B.     Requiring Defendants to pay damages sustained by Plaintiff and the

              Class by reason of the acts and transactions alleged herein;

       C.     Awarding Plaintiff and the other members of the Class pre-judgment

              and post-judgment interest, as well as their reasonable attorneys’

              fees, expert fees and other costs; and

       D.     Awarding such other and further relief as this Court may deem just

              and proper.

                            DEMAND FOR TRIAL BY JURY

       Plaintiff hereby demands a trial by jury.



 Dated: January 31, 2025                  Respectfully submitted,

                                          LEVI & KORSINSKY, LLP


                                          /s/ Adam M. Apton               _
                                          Adam M. Apton
                                          33 Whitehall Street, 17th Floor
                                          New York, New York 10004
                                          Tel.: (212) 363-7500
                                          Fax: (212) 363-7171
                                          Email: aapton@zlk.com

                                          Attorneys for Plaintiff




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